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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK

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 H. CRISTINA CHEN-OSTER, SHANNA                         :
 ORLICH, ALLISON GAMBA and MARY :
 DE LUIS,                                               :
                                                        :
                                 Plaintiffs,            :       10 Civ. 6950 (AT) (RWL)
                        v.                              :
                                                                 NOTICE OF MOTION
                                                        :
 GOLDMAN SACHS & CO. and THE                            :
 GOLDMAN SACHS GROUP, INC.,                             :
                                                        :
                                 Defendants.            :
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                        DEFENDANTS’ NOTICE OF MOTION FOR
                     RECONSIDERATION OR CERTIFICATION OF AN
                   INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b)

                 PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law

dated March 31, 2022, the undersigned counsel for Defendants Goldman Sachs & Co. and The

Goldman Sachs Group, Inc. move this Court: to reconsider, pursuant to Local Civil Rule 6.3, a

portion of the Court’s March 17, 2022 Order, as described in the accompanying Memorandum of

Law; or to certify for interlocutory appeal to the U.S. Court of Appeals for the Second Circuit,

pursuant to 28 U.S.C. § 1292(b), the Court’s March 17, 2022 Order, as described in the

accompanying Memorandum of Law.

Dated: New York, New York
       March 31, 2022

                                                            /s/ Robert J. Giuffra, Jr.
 Barbara B. Brown (admitted pro hac vice)                   Robert J. Giuffra, Jr.
 Carson H. Sullivan (admitted pro hac vice)                 Sharon L. Nelles
 PAUL HASTINGS LLP                                          Ann-Elizabeth Ostrager
 875 15th Street, N.W.                                      Hilary M. Williams
 Washington, D.C. 20005                                     SULLIVAN & CROMWELL LLP
                                                            125 Broad Street
                                                            New York, New York 10004
 Additional counsel listed on next page
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Patrick W. Shea                            Amanda Flug Davidoff
PAUL HASTINGS LLP                          Jeffrey B. Wall (admitted pro hac vice)
200 Park Avenue                            SULLIVAN & CROMWELL LLP
New York, New York 10166                   1700 New York Avenue, N.W., Suite 700
                                           Washington, D.C. 20006


                              Attorneys for Defendants
                             Goldman Sachs & Co. and
                           The Goldman Sachs Group, Inc.
